        Case 1:21-cv-01600-CRC Document 33 Filed 07/01/22 Page 1 of 4




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


THE AMERICAN SOCIETY FOR
THE PREVENTION OF CRUELTY
TO ANIMALS,
                                               Case No. 1:21-cv-1600-CRC
               Plaintiff,
      v.
ANIMAL AND PLANT HEALTH
INSPECTION SERVICE, et al.,

               Defendants.




      PLAINTIFF’S MOTION TO COMPLETE AND/OR SUPPLEMENT
                  THE ADMINISTRATIVE RECORD


      Plaintiff the American Society for the Prevention of Cruelty to Animals

(“ASPCA”), by and through its attorneys of record, pursuant to Local Civil Rule 7,

respectfully submit this Motion to Complete and/or Supplement the Administrative

Record. As set forth in the attached memorandum of law, the administrative record

that was produced by Defendants on May 20, 2022 is deficient.

      To cure this deficiency, Defendants must add the following documents:

   A. Documentation and/or data cataloguing dog dealer violations of the Animal
      Welfare Act (“AWA”), including all inspection reports, reports recording
      “Teachable Moments” in Defendants’ online databases, and any photographs
      or videos included in such reports, see APHIS, Inspection Reports Search,
      https://sforce.co/3mFYioa (last accessed June 11, 2022); APHIS, Teachable
      Moments, https://sforce.co/3zxHcRh (same).

   B. The formula(s) Defendants used to calculate compliance statistics reported in
      the yearly “impact reports” issued by USDA in 2018, 2019, 2020, and 2021.
        Case 1:21-cv-01600-CRC Document 33 Filed 07/01/22 Page 2 of 4




   C. Documentation and/or data cataloguing any statutory penalties imposed by
      Defendants against dog dealers for AWA violations, including the contents of
      Defendants’ online enforcement database, APHIS, Animal Welfare and Horse
      Protection Actions, https://bit.ly/3aUuHVC (last accessed June 12, 2022).

   D. The results of the “Teachable Moments” survey conducted by Defendants in
      2015, which survey is reflected in documents already produced as part of the
      administrative record. See Declaration of Kathleen R. Hartnett in Support of
      Plaintiff’s Motion to Complete and/or Supplement the Administrative Record,
      Ex. E at USDA00006048, Ex. F at USDA00006049, and Ex. G at
      USDA00006051.

   E. Agency correspondence relating to the Consolidated Appropriations Act of
      2020, H.R. Rep. No. 116-107 (2020), the Consolidated Appropriations Act of
      2021, H.R. Rep. No. 116-446 (2020), and the Consolidated Appropriations Act
      of 2022, H.R. 2471, P.L. 117-103 (2022), including Exhibit 2 to ASPCA’s
      operative complaint (Dkt. No. 20).

   F. Exhibits 4 and 6 to ASPCA’s operative complaint, which comprise a sworn
      statement given by an APHIS inspector (Ex. 4) and a report issued by a state
      agency (Ex. 6) regarding violations of the AWA committed by dog dealer Daniel
      Gingerich at Mr. Gingerich’s facility.

      In support of this motion, Plaintiff submits the attached memorandum of law,

supporting declaration of Kathleen Hartnett, and attached exhibits. Plaintiff has

conferred with Defendants pursuant to Local Civil Rule 7(m) and the parties were

able to reach an agreement on several categories of documents, which Defendants

have agreed to produce to supplement the record. However, the parties were unable

to resolve the issues raised in this motion. Defendants oppose this motion.

      Plaintiff respectfully requests that this Court order Defendants to complete

and/or supplement the administrative record with the documents described above

and in the accompanying memorandum.




                                         2
       Case 1:21-cv-01600-CRC Document 33 Filed 07/01/22 Page 3 of 4




Dated: July 1, 2022                     Respectfully submitted,

                                        By: /s/ Kathleen Hartnett
                                         Kathleen Hartnett (DC Bar No.
                                         483250)
                                         COOLEY LLP
                                         3 Embarcadero Center, 20th Floor
                                         San Francisco, CA 94111-4004
                                         Telephone: (415) 693-2000
                                         Facsimile: (415) 693-2222
                                         khartnett@cooley.com

                                         Reuben Chen (pro hac vice)
                                         Deepa Kannappan (pro hac vice)
                                         COOLEY LLP
                                         3175 Hanover Street
                                         Palo Alto, CA 94304-1130
                                         Telephone: (650) 843-5000
                                         Facsimile: (650) 849-7400
                                         rchen@cooley.com
                                         dkannappan@cooley.com

                                         Bonnie Weiss McLeod (DC Bar No.
                                         478454)
                                         COOLEY LLP
                                         1299 Pennsylvania Ave., NW, Suite 700
                                         Washington, DC 20004-2400
                                         Telephone: (202) 842-7800
                                         Facsimile: (202) 842-7899
                                         bweissmcleod@cooley.com

                                         Patrick J. Hayden (pro hac vice)
                                         COOLEY LLP
                                         55 Hudson Yards
                                         New York, NY 10001-2157
                                         Telephone: (212) 479-6000
                                         Facsimile: (212) 479-6275
                                         phayden@cooley.com




                                    3
Case 1:21-cv-01600-CRC Document 33 Filed 07/01/22 Page 4 of 4




                                 Adam M. Katz (pro hac vice)
                                 COOLEY LLP
                                 500 Boylston Street
                                 Boston, MA 02116-3736
                                 Telephone: (617) 937-2300
                                 Facsimile: (617) 937-2400
                                 akatz@cooley.com

                                 Robert G. Hensley (pro hac vice)
                                 Tamara Y. Feliciano (DC Bar No.
                                 1723562)
                                 THE AMERICAN SOCIETY FOR THE
                                 PREVENTION OF CRUELTY TO ANIMALS
                                 520 Eighth Avenue, 7th Floor
                                 New York, NY 10018
                                 Telephone: 917-716-5105
                                 robert.hensley@aspca.org
                                 tamara.feliciano@aspca.org

                                 Counsel for Plaintiff




                             4
